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                                 HALLETT
                                 WHIPPLE
                                 WEYRENS




                                                    Please reply to P.O. Box 7508, Portland, ME 04112


                                             September 12, 2018

VIA ECF FILING
Honorable Judge Rich
United States District Court
156 Federal Street
Portland, ME 04101

       RE: Vladek Filler v. Linda Gleason
       Docket No.: 1:15-cv-48

Dear. Judge Rich,

        I am writing to alert the Court to the fact that one defaulted Defendant remains in this
matter, Linda Gleason. While the Plaintiff has settled his claims with regard to all other
defendants, he does intend to pursue a default judgement against Defendant Gleason and is
currently exploring avenues to set this up pursuant to F.R.Civ.P. 55. Toward that end, the Court
may anticipate a filing requesting the entry of a default judgment in the very near future and if
additional information is needed, or deadlines set, plaintiff stands ready to set up a conference
with the Court.

                                             Sincerely,

                                             /s/ David A. Weyrens

                                             David A. Weyrens, Bar No. 4035
                                             HALLETT WHIPPLE WEYRENS
                                             dweyrens@hww.law

DAW/akl
CC: Vladek Filler (e-mail)




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